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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


MOLLY BECKER,                         )
                                      )       No. 4-19-CV-00790-RLW
                       Plaintiff,     )
                                      )
        v.                            )
                                      )
WALMART, INC.,                        )
                                      )
                       Defendant.     )


                               FIRST AMENDED COMPLAINT

       Plaintiff Molly Becker (“Plaintiff”) alleges the following facts and claims upon personal

knowledge, investigation of counsel, and information and belief.

                                    NATURE OF THE CASE

       1.      The Textile Fiber Products Identification Act, 15 USC §§ 70-70k (West)

(hereinafter “Textile Act”), and the regulations implementing the Textile Act, 16 CFR Part 303,

prohibit the introduction or manufacture for introduction into commerce or for sale and

advertising, and the sale, offering for sale, advertising and shipment in commerce of “any textile

fiber product which is misbranded or falsely or deceptively advertised within the meaning of this

subchapter or the rules and regulations promulgated thereunder . . . .” In addition, the Textile Act

expressly declares that any violation “is unlawful, and shall be an unfair method of competition

and an unfair and deceptive act or practice in commerce under the Federal Trade Commission Act

[15 U.S.C. 41 et seq.].” A misbranded textile is any fiber product that “is falsely or deceptively

stamped, tagged, labeled, invoiced, advertised, or otherwise identified as to the name or amount

of constituent fibers contained therein.” 15 USC § 70b(a).



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       2.      In direct contravention of the Textile Act and Missouri State law, Defendant

introduced into commerce, advertised, offered for sale, and sold Better Homes and Gardens brand

sheets, which it uniformly labeled, represented and advertised as containing “100% Egyptian

Cotton” (the “Products”).

       3.      Contrary to the uniform labeling and representations, however, the Products do not

contain 100% Egyptian Cotton and in fact contain little or no Egyptian Cotton. Plaintiff has

confirmed the absence of Egyptian Cotton in the Products by independent laboratory testing.

       4.      Accordingly, and as alleged herein, Defendant has engaged in misleading,

deceptive and unlawful conduct in violation of the Textile Act and its accompanying Rules and

Regulations and the Federal Trade Commission Act (hereinafter “FTC Act”). This conduct in turn

violates the Missouri Merchandising Practices Act (the “MMPA”) and has caused Defendant to be

unjustly enriched.

       5.      Based on Defendant’s unlawful conduct, Plaintiff seeks damages, disgorgement of

Defendant’s unjust enrichment, injunctive and equitable relief, and all other remedies this Court

deems appropriate.

                                           PARTIES

       6.      Plaintiff Molly Becker is a resident of Rolla, Missouri. On at least one occasion

during the Class Period, Plaintiff purchased a Better Homes and Gardens 400 Thread Count

Egyptian Cotton Sheet Set, which was labeled and advertised as containing 100% Egyptian Cotton,

for personal, family, or household purposes, from a Walmart Store located in Rolla, MO. The

purchase price of the Product was approximately $54.88.

       7.      Defendants Walmart Inc. is a corporation headquartered in Wilmington, Delaware

with its principal business office in Bentonville, Arkansas. Defendant and its agents manufacture,



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market, distribute, label, promote, advertise and sell the Products. The unfair, unlawful, deceptive,

and misleading conduct described herein was engaged in, approved and/or authorized by

Defendant and its agents.

                                 JURISDICTION AND VENUE

       8.      Pursuant to information submitted by Defendant in its Notice of Removal (Dkt. No.

1), this Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § 1332(a)

because the amount in controversy exceeds $75,000 and the parties are citizens of different states.

Furthermore, jurisdiction is conferred upon this Court pursuant to the Class Action Fairness Act

in that damages exceed more than $5,000,000 in the aggregate, and the parties are citizens of

different states. 28 U.S.C. § 1332(d)(2).

       9.      This Court has personal jurisdiction over Defendant as Defendant has had more

than sufficient minimum contact with the State of Missouri and has availed itself of the privilege

of conducting business in this state and because the claims of Plaintiff and the Classes arise out of

Defendants’ contact with the forum. Additionally, and as explained below, Defendant has

committed affirmative tortious acts within the State of Missouri that give rise to civil liability,

including distributing and selling the misbranded Products throughout the State of Missouri.

       10.     Plaintiff is a citizen of the State of Missouri and resident of this judicial district.

       11.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because Defendant

engages in continuous and systematic activities within the State of Missouri and in this forum.

Specifically, as provided by 28 U.S.C. §1391(c), Defendant is a company that is deemed to reside

in this District. Moreover, a substantial part of the events and omissions giving rise to the claims

alleged herein occurred in this District.




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        12.     Service has been properly effected, and this Court has in-personam jurisdiction

over the Defendant under the applicable federal statutes and state long-arm statutes.

                                    ALLEGATIONS OF FACT

                                            The Textile Act

        13.     The Textile Act prohibits the introduction or manufacture for introduction into

commerce or for sale and advertising, and the sale, offering for sale, advertising and shipment in

commerce of “any textile fiber product which is misbranded or falsely or deceptively advertised

within the meaning of this subchapter or the rules and regulations promulgated thereunder . . . .”

15 USC §§ 70-70k (West).

        14.     In addition, the Textile Act expressly declares that any violation of the Act “is

unlawful, and shall be an unfair method of competition and an unfair and deceptive act or practice

in commerce under the Federal Trade Commission Act [15 U.S.C. 41 et seq.].”

        15.     Under the Textile Act, the term “textile fiber product” includes “any household

textile article made in whole or in part of yarn or fabric.” Id. at § 70(h)(3). Cotton linen is a “textile

fiber product” within the meaning of the Textile Act.

        16.     A misbranded textile is any fiber product that “is falsely or deceptively stamped,

tagged, labeled, invoiced, advertised, or otherwise identified as to the name or amount of

constituent fibers contained therein.” Id. at § 70(a).

        17.     The Federal Trade Commission (“FTC”) has promulgated rules governing the

labeling of textile products. Under 16 C.F.R. § 303.16(a), a label must disclose the “generic name”

of the constituent fibers of a product (such as “cotton”). Under 16 C.F.R. § 303.16(d), additional

descriptive terms (such as “Egyptian cotton”) may be included on the label, but only if they are

“non-deceptive” and “are properly and truthfully descriptive” of the fiber used in the product.



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Under 16 C.F.R. § 303.27, “the word ‘All’ or the term ‘100%’ may be used in labeling, together

with the correct generic name of the fiber and any qualifying phrase [i.e., 100% Egyptian cotton],”

only if the product “is comprised wholly” of that fiber.

   Defendant Falsely Marketed, Labeled and Sold the Products as “100% Egyptian Cotton”

       18.     Defendant manufactures, markets, promotes, labels, advertises, and sells branded

merchandise in its stores, including the Products at issue. Among other things, the sewn-in label

on the Products states that they are “Distributed by Walmart, Inc.”

       19.     Defendant uniformly advertises, labels and represents the Products as “100%

Egyptian Cotton” on both the Product packaging and the tag that is sewn into the Products, as

depicted below.




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        20.     Contrary to Defendant’s material representation that the Products contain 100%

Egyptian Cotton, the Products contain little or no Egyptian Cotton. Specifically, independent

testing of the Product for fiber length and distribution reveals that the average fiber length is 0.853,

which is far less than the standard for Egyptian ELS or GIZA cotton. In addition, 0% of the fibers

tested were 1.440 inches or greater in length. Yet, in order to qualify as Egyptian ELS the fiber

length must be 1.5 inches to 2.5 inches, and in order to qualify as GIZA 87 93, the fiber length

must be 1.4 inches to 1.45 inches. Accordingly, Defendant’s representation that the Products

contain 100% Egyptian Cotton is patently false.

        21.     The testing results are also consistent with the guidelines provided by ASTM

International, one of the largest voluntary standards developing organizations in the world, which

provides a forum for the development and publication of international voluntary consensus

standards for materials, products, systems and services. ASTM International’s members develop

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technical documents that are the basis of manufacturing, management, procurement, codes and

regulations for dozens of industry sectors, including the textile industry. ASTM International’s

Standard Guide for Textile Fibers, which was reapproved in 2014, states that the commercial and

botanical name “Egyptian” Cotton refers to an extra-long staple barbadenses (Gossypium

barbadense), which has a staple length of approximately one and one-eighths inches (1 1/8 in.) to

one and five-eighths inches (1 5/8 in.). According to the testing results, however, less than 7% of

the fibers in the Product samples were 1.200 inches or greater: a far cry from the 100% claimed.

Accordingly, under the ASTM guidelines, Defendant has made a uniform, material

misrepresentation and omission in the advertising and sale of the Products.

                  Plaintiff Paid a Premium For the Products And Was Misled

       22.     Egyptian Cotton is considered to be some of the highest quality cotton in the world.

       23.     Fabrics, including bedding, that are labeled as containing 100% Egyptian Cotton

command a price premium because they are considered to be comprised of the highest quality

cotton on the market.

       24.     The type of fabric that is used in bedding products is a driving factor in price.

Accordingly, Defendant charged a premium for the Products based on the 100% Egyptian cotton

labeling and representations.

       25.     The Product packaging and labeling was misleading to Plaintiff.

       26.     Reasonable consumers, such as Plaintiff, attached importance to the representation

that the Products contain 100% Egyptian Cotton as the basis for her purchasing decision. Plaintiff

was misled because, as described herein, the Products do not in fact contain 100% Egyptian Cotton.




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        27.     Plaintiff suffered an ascertainable loss as a result of Defendant’s unlawful conduct

because the actual value of the Products as purchased was less than the value of the Products as

represented.

                      Defendant’s Conduct Violates Federal and State Law

        28.     Defendant’s deceptive and misleading conduct, as described herein, violates the

Textile Act because Defendant: (1) fails to affix an accurate and truthful fiber content tag to the

Products; (2) fails to accurately and truthfully disclose the fiber content on the label of the

Products; and (3) fails to maintain required records substantiating the fiber content of the Products

at each stage of the manufacturing process. In addition, because the true and accurate fiber content

is different than that disclosed on the fiber content tag and the label, the Products are misbranded

as a matter of law, and manufacturing, importing, offering for sale, or selling the Products is “an

unfair and deceptive act or practice” and an “unfair method of competition” as a matter of law.

See 15 USC §§ 70a-70b. Defendant’s deceptive acts and practices are also unlawful under the

FTC Act. Id. at § 45(a)(1). In addition, Defendant’s failure to maintain records sufficient to

substantiate the claims on its fiber content tags and labels, constitutes an independent “unfair and

deceptive act or practice” and an “unfair method of competition” as a matter of law. Id. at § 70d.

See also 16 CFR § 303.39 and § 303.2(d). As described in detail herein, these violations

contravene the MMPA, which prohibits deceptive, fraudulent, misleading and unfair conduct in

connection with the sale or advertisement of any merchandise in trade or commerce. § 407.020.43,

RSMo.

        29.     Specifically, under the Textile Act and its accompanying Rules and Regulations,

sellers have a legal duty to affix an accurate fiber content identification tag to a product, accurately

disclose the fiber content to the same extent on the label of the product, and accurately advertise



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the fiber content of the product. See 15 U.S.C. §70b. If the actual fiber content is different than

the labeled amount, the product is misbranded as a matter of law, and importing or retailing such

a product is “an unfair and deceptive act or practice” and an “unfair method of competition.” Id.

at §70a.

          30.   In furtherance of this regulatory scheme, manufacturers of textile products, like

Defendant, must maintain records sufficient to substantiate the claims on its fiber content tags and

labels. See id. at §70d. Any person failing to maintain such records has committed a per se

violation of an unfair method of competition, and an unfair or deceptive act or practice, under the

Textile Act. Id.; see 16 CFR § 303.39; see also id. § 303.2(d).

          31.   Importantly, these records must document the fiber used through the entire

manufacturing chain, from acquisition of the raw cotton through production of the finished article,

and a “guarantee” of fiber content from a supplier is expressly made insufficient for Defendant by

the applicable regulations. See 16 CFR §303.39.

          32.   Defendant has not and does not maintain the proper documentation to support its

100% Egyptian Cotton claims, nor could it, since the Products do not contain 100% Egyptian

Cotton.

          33.   Defendant knew, or should have known, that the 100% Egyptian Cotton claim is

materially false, deceptive and misleading.

          34.   Defendant’s misrepresentations and omissions are uniform because the Products

were uniformly packaged and labeled as containing 100% Egyptian Cotton.

                                          CLASS ALLEGATIONS

          35.   Plaintiff repeats and re-alleges the allegations of all other paragraphs in this

complaint as if fully set forth herein.



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       36.     Plaintiff brings the below causes of action individually and on behalf of others who

are similarly situated pursuant to Federal Rule of Civil Procedure 23(a), (b).

       37.     The putative class for Counts I, II and III is: all persons who, within the five years

preceding the filing of this Complaint, purchased for personal, family or household purposes Better

Homes & Gardens sheets, which were represented to contain 100% Egyptian Cotton and were not

made or manufactured by Welspun Group (“Missouri Consumer Class”).

       38.     The putative class for Count IV is: all persons in the United States who, within the

relevant statute-of-limitations period, purchased for personal, family or household purposes, Better

Homes & Gardens sheets, which were represented to contain 100% Egyptian Cotton and were not

made or manufactured by Welspun Group (“Nationwide Class”).

       39.     Excluded from the Classes are: (a) federal, state, and/or local governments,

including, but not limited to, their departments, agencies, divisions, bureaus, boards, sections,

groups, counsels, and/or subdivisions; (b) any entity in which Defendant has a controlling interest,

to include, but not limited to, their legal representative, heirs, and successors; (c) all persons who

are presently in bankruptcy proceedings or who obtained a bankruptcy discharge in the last three

years; and (d) any judicial officer in the lawsuit and/or persons within the third degree of

consanguinity to such judge.

       40.     Numerosity – Rule 23(a)(1). Upon information and belief, the Classes consist of

thousands of purchasers dispersed throughout the United States. Accordingly, it would be

impracticable to join all members of the Classes before the Court.

       41.     Predominance and Commonality – Rule 23(a)(2); (b)(3). There are numerous and

substantial questions of law or fact common to all members of the Classes that predominate over

any individual issues. Included within the common questions of law or fact are:



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               a.     Whether Defendant made false and/or misleading representations or

                      statements in the labeling of the Products;

               b.     Whether Defendant made omissions in the labeling of the Products;

               c.     Whether Defendant’s representations and/or omissions were likely to be

                      misleading to a reasonable consumer;

               d.     Whether Defendant’s actions as alleged herein constitute an unlawful

                      practice under the MMPA;

               e.      Whether Defendant’s actions as alleged herein constitute an unfair practice

                      under the MMPA;

               f.     Whether Defendant’s actions as alleged herein were unethical, oppressive,

                      or unscrupulous;

               g.     Whether Defendant’s actions as alleged herein constituted concealment or

                      omission of any material fact;

               h.     Whether, and to what extent, injunctive relief should be granted to prevent

                      such conduct in the future;

               i.     Whether Defendant has been unjustly enriched by the sale of the Products

                      to the Plaintiff and members of the Classes;

               j.     Whether Plaintiff and members of the Classes have sustained damages as a

                      result of Defendant’s unlawful conduct; and

               k.     The proper measure of damages sustained by Plaintiff and members of the

                      Classes.

       42.     Typicality – Rule 23(a)(3). The claims of the Plaintiff are typical of the claims of

members of the Classes, in that she shares the above-referenced facts and legal claims or questions



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with members of the Classes, there is a sufficient relationship between the damage to Plaintiff and

Defendant’s conduct affecting members of the Classes, and Plaintiff has no interests adverse to

the interests of other members of the Classes.

        43.     Adequacy of Representation – Rule 23(a)(4). Plaintiff will fairly and adequately

protect the interests of members of the Classes and has retained counsel experienced and competent

in the prosecution of complex class actions including complex questions that arise in consumer

protection litigation.

        44.     Superiority – Rule 23(b)(3). A class action is superior to other methods for the fair

and efficient adjudication of this controversy, since individual joinder of all members of the

Classes is impracticable and no other group method of adjudication of all claims asserted herein is

more efficient and manageable for at least the following reasons:

                a.       The claims presented in this case predominate over any questions of law or

                         fact, if any exists at all, affecting any individual member of the Classes;

                b.       Absent a Class, the members of the Classes will continue to suffer damage

                         and Defendant’s unlawful conduct will continue without remedy while

                         Defendant profits from and enjoys its ill-gotten gains;

                c.       Given the size of individual Class members’ claims, few, if any, members

                         could afford to or would seek legal redress individually for the wrongs

                         Defendant committed against them, and absent members have no

                         substantial interest in individually controlling the prosecution of individual

                         actions;




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                d.      When the liability of Defendant has been adjudicated, claims of all members

                        of the Classes can be administered efficiently and/or determined uniformly

                        by the Court; and

                e.      This action presents no difficulty that would impede its management by the

                        Court as a class action which is the best available means by which Plaintiff

                        and members of the Classes can seek redress for the harm caused to them

                        by Defendant.

        45.     Because Plaintiff seeks relief for all members of the Classes, the prosecution of

separate actions by individual members would create a risk of inconsistent or varying adjudications

with respect to individual members of the Classes, which would establish incompatible standards

of conduct for Defendant.

        46.     Further, bringing individual claims would overburden the Courts and be an

inefficient method of resolving the dispute, which is the center of this litigation. Adjudications

with respect to individual members of the Classes would, as a practical matter, be dispositive of

the interest of other members of the Classes who are not parties to the adjudication and may impair

or impede their ability to protect their interests. As a consequence, class treatment is a superior

method for adjudication of the issues in this case.

                                    FIRST CLAIM FOR RELIEF
                         Violation of Missouri’s Merchandising Practices Act
                              (Misrepresentations and False Statements)

        47.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as if fully

set forth herein.

        48.     The MMPA “is designed to regulate the marketplace to the advantage of those

traditionally thought to have unequal bargaining power as well as those who may fall victim to



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unfair practices.” Huch v. Charter Commc’ns Inc., 290 S.W. 3d 721, 725 (Mo. banc. 2009). The

MMPA provides that it is unlawful to “act, use or employ . . . deception, fraud, false pretense, false

promise, misrepresentation, unfair practice or the concealment, suppression, or omission of any

material fact in connection with the sale or advertisement of any merchandise in trade or commerce

. . . .” § 407.020.1, RSMo.

       49.     The MMPA applies to acts committed “before, during or after the sale,

advertisement or solicitation” of merchandise, and provides a cause of action for “any person who

purchases or leases merchandise primarily for personal, family or household purposes.” Section

407.020 is intended to supplement the definitions of common law fraud to “preserve fundamental

honesty, fair play and right dealings in public transactions.”

       50.     Defendant’s conduct as described above constitutes the act, use or employment of

deception, fraud, false pretenses, false promises, misrepresentation, unfair practices and/or the

concealment, suppression, or omission of any material facts in connection with the sale or

advertisement of any merchandise in trade or commerce in that Defendant makes material false

representations and omissions that the Products contain 100% Egyptian cotton. Among other

things, Plaintiff and Class members were misled because Defendant represented and they believed

that they were purchasing Products containing 100% Egyptian cotton.

       51.     Defendant’s misrepresentations and omissions as set forth in this Complaint are

material in that they relate to matters that are important to Plaintiff and Class members.

       52.     In violation of the MMPA, Defendant employed fraud, deception, false promise,

misrepresentation and/or the knowing concealment, suppression or omission of material facts in

its manufacture, sale and advertisement of the Products.




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       53.      Plaintiff and members of the Missouri Consumer Class purchased the Products for

personal, family, or household purposes.

       54.      Plaintiff and the Missouri Consumer Class members suffered an ascertainable loss

as a result of Defendant’s unlawful conduct because the actual value of the Products as purchased

was less than the value of the Products as represented.

       55.      In addition, Defendant’s conduct has caused Plaintiff and the Missouri Consumer

Class members irreparable injury. As described herein, Defendant has engaged in unlawful and

misleading conduct on a routine and consistent basis, harming Missouri consumers in a uniform

manner. Unless restrained and enjoined, Defendant will continue such conduct. As authorized

under § 407.025.2, RSMo., Plaintiff requests injunctive relief, and such other equitable relief as

the Court deems just and proper.

       56.      Furthermore, it is possible that Plaintiff and Class members would purchase the

Products in the future if they were accurately represented, and that they will be deceived in the

future if the Products are misbranded.

       57.      Plaintiff and Class Members are also entitled to recover attorney fees as authorized

by § 407.025.

       58.      This private civil action by Plaintiff to enforce § 407.010 et. seq. is authorized by

§ 407.025.

       59.      Class actions are authorized by the MMPA where an unlawful practice “has

caused similar injury to numerous other persons.” § 407.025.2.




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                                   SECOND CLAIM FOR RELIEF
                         Violation of Missouri’s Merchandising Practices Act
                                  (Unfair Practice, 15 CSR 60-8.020)

        60.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as if fully

set forth herein.

        61.     The MMPA prohibits as an unlawful practice the act, use or employment of any

“unfair practice” in connection with the sale or advertisement of any merchandise in trade or

commerce. § 407.020.1, RSMo.

        62.     “Unfair practice” is defined as “any practice which –

                (A) Either—

                        1. Offends any public policy as it has been established by the Constitution,
                statutes or common law of this state, or by the Federal Trade Commission, or its
                interpretive decisions; or

                        2. Is unethical, oppressive or unscrupulous; and

                (B) Presents a risk of, or causes, substantial injury to consumers.

15 CSR 60-8.020.

        63.     Defendant’s actions, as alleged herein, were and are unethical, oppressive, and

unscrupulous.

        64.     In addition, Defendant’s conduct violates the statutes and laws described herein,

including the Textile Act and the FTC Act and offends public policy as it has been established by

statute and the FTC.

        65.     Plaintiff and the Missouri Consumer Class purchased the Products for personal,

family, or household purposes.

        66.     Plaintiff and the Missouri Consumer Class suffered an ascertainable loss as a result

of Defendant’s unlawful conduct because the actual value of the Products as purchased was less

than the value of the Products as represented.

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        67.     In addition, Defendant’s conduct has caused plaintiff and the Missouri Consumer

Class members irreparable injury. As described herein, Defendant has engaged in unlawful and

misleading conduct on a routine and consistent basis, harming Missouri consumers in a uniform

manner. Unless restrained and enjoined, Defendant will continue such conduct. As authorized

under § 407.025.2, RSMo., Plaintiff requests injunctive relief, and such other equitable relief as

the Court deems just and proper.

        68.     Furthermore, it is possible that Plaintiff and Class members would purchase the

Products in the future if they were accurately represented, and that they will be deceived in the

future if the Products are misbranded.

        69.     Plaintiff and Class Members are also entitled to recover attorney fees as authorized

by § 407.025.

        70.     This private civil action by plaintiffs to enforce § 407.010 et. seq. is authorized by

§ 407.025.

        71.     Class actions are authorized by the MMPA where an unlawful practice “has

caused similar injury to numerous other persons.” § 407.025.2

                                     THIRD CLAIM FOR RELIEF
                          Violation of Missouri’s Merchandising Practices Act
                    (Concealment or Omission of any Material Fact, 15 CSR 60-9.110)

        72.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as if fully

set forth herein.

        73.     The MMPA prohibits as an unlawful practice the act, use or employment of the

“concealment, suppression or omission of any material fact” in connection with the sale or

advertisement of any merchandise in trade or commerce. §407.020.1, RSMo.

        74.     A “material fact” is defined as “any fact which a reasonable consumer would likely

consider to be important in making a purchasing decision, or which would be likely to induce a
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person to manifest his/her assent, or which the seller knows would be likely to induce a particular

consumer to manifest his/her assent, or which would be likely to induce a reasonable consumer to

act, respond or change his/her behavior in any substantial manner.” 15 CSR 60- 9.010(1)(C).

       75.     “Concealment of a material fact” is defined as “any method, act, use or practice

which operates to hide or keep material facts from consumers.” 15 CSR 60-9.110(1).

       76.     “Omission of a material fact” is defined as “any failure by a person to disclose

material facts known to him/her, or upon reasonable inquiry would be known to him/her.” 15 CSR

60-9.110(3).

       77.     Defendant’s actions as alleged herein constituted the concealment and omission of

material facts. Among other things, and as described herein, Defendant concealed and omitted the

material fact that the Products actually contain little or no Egyptian Cotton, despite the fact that

they are labeled and advertised as containing 100% Egyptian Cotton.

       78.     Plaintiff and the Missouri Consumer Class members purchased the Products for

personal, family, or household purposes.

       79.     Plaintiff and the Missouri Consumer Class members suffered an ascertainable loss

as a result of Defendant’s unlawful conduct because the actual value of the Products as purchased

was less than the value of the Products as represented.

       80.     In addition, Defendant’s conduct has caused plaintiff and the Missouri Consumer

Class members irreparable injury. As described herein, Defendant has engaged in unlawful and

misleading conduct on a routine and consistent basis, harming Missouri consumers in a uniform

manner. Unless restrained and enjoined, Defendant will continue such conduct. As authorized

under § 407.025.2, RSMo., Plaintiff requests injunctive relief, and such other equitable relief as

the Court deems just and proper.



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        81.     Furthermore, it is possible that Plaintiff and Class members would purchase the

Products in the future if they were accurately represented, and that they will be deceived in the

future if the Products are misbranded.

        82.     Plaintiff and Class Members are also entitled to recover attorney fees as authorized

by § 407.025.

        83.     This private civil action by plaintiffs to enforce § 407.010 et. seq. is authorized by

§ 407.025.

        84.     Class actions are authorized by the MMPA where an unlawful practice “has

caused similar injury to numerous other persons.” § 407.025.2.

                                FOURTH CLAIM FOR RELIEF
                                    Unjust Enrichment

        85.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs as if fully

set forth herein.

        86.     By purchasing the Products, Plaintiff and Class Members conferred a benefit on

Defendant in the form of the purchase price of the Products. This benefit was non-gratuitous and

constitutes an unjust taking.

        87.     Defendant had knowledge of such benefits.

        88.     Defendant appreciated the benefit because, were Plaintiff and Class Members not

to purchase the Products, Defendant would not generate revenue from the sales of the Products.

        89.     Defendant’s acceptance and retention of the benefit is inequitable and unjust

because the benefit was obtained by Defendant’s fraudulent and misleading representations and

omissions and Defendant’s unlawful conduct.

        90.     As a result of the foregoing, Plaintiff and Class Members have suffered damages,

as set forth herein.


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       91.    Equity cannot in good conscience permit Defendant to be economically enriched

for such actions at the Plaintiff’s and Class Members’ expense, and therefore restitution and/or

disgorgement of such economic enrichment is required.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated, seeks

judgment against Defendant, as follows:

       a.     Certifying the Classes, as requested herein, certifying Plaintiff as the named

              representative, and appointing Plaintiff’s counsel as counsel for the Classes;

       b.     Ordering that Defendant must pay for notice to be sent to all Class Members;

       c.     For an order declaring that Defendant’s conduct violates the statutes and laws

              referenced herein;

       d.     For an order finding in favor of Plaintiff and Class Members on all counts asserted

              herein;

       e.     For an order awarding all compensatory damages, in an amount to be determined

              by the Court and/or jury.

       f.     For an order awarding injunctive and/or declaratory relief;

       g.     For an order requiring Defendant to engage in accurate, corrective advertising;

       h.     For prejudgment interest on all amounts awarded;

       i.     For interest on the amount of any and all economic losses, at the prevailing legal

              rate;

       j.     For an order of restitution and all other forms of equitable monetary relief;

       k.     For an order awarding Plaintiff her reasonable attorneys’ fees, expenses and costs

              of suit; and



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      l.     For all such other and further relief as may be just and proper.

                             DEMAND FOR TRIAL BY JURY


      Plaintiff demands trial by jury on all issues triable to a jury under law or equity.


            10 2019
Dated: May _____,                            STEELMAN & GAUNT


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